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                                                             March 30, 2023
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5    Email: Edward.G.Veronda@usdoj.gov                TIME:___________________
                                                             11:00 a.m.
     Attorneys for the United States of America
6
                                  UNITED STATES DISTRICT COURT
7                                      DISTRICT OF NEVADA

8    UNITED STATES OF AMERICA,                       Case No. 2:23-mj-00259-EJY

9                    Plaintiff,                      CRIMINAL COMPLAINT
                                                     for violation of:
10         v.                                        Conspiracy to Commit Interstate
                                                     Transportation of Stolen Property
11   JOSEPH LYNN SALES,                              (18 U.S.C. §§ 371, 2314)

12                   Defendant.

13

14          BEFORE the Honorable Elayna J. Youchah, United States Magistrate Judge, Las

15   Vegas, Nevada, the undersigned Complainant, being duly sworn, deposes and states:

16                                         COUNT ONE
                   Conspiracy to Commit Interstate Transportation of Stolen Property
17                                   (18 U.S.C. §§ 371, 2314)

18          1.      Beginning on a date unknown, but no later than in or about August 2022, and

19   continuing up to and including a date unknown, but no earlier than March 23, 2023, in the

20   State and Federal District of Nevada,

21                                  JOSEPH LYNN SALES (SALES),

22   defendant herein, and others known and unknown, knowingly combined, conspired,

23   confederated, and agreed with each other, to commit an offense against the United States,

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1    that is, Interstate Transportation of Stolen Property, in violation of 18 U.S.C. § 2314, in

2    violation of 18 U.S.C. § 371.

3           2.      In furtherance of the conspiracy and to carry out its object, defendants

4    performed, or caused to be performed, the following overt act, among others: on or about

5    August 15, 2022, in Las Vegas, Nevada, SALES and a co-conspirator (“INDIVIDUAL 1”)

6    purchased eleven catalytic converters from FBI confidential human sources for

7    approximately $2,200 in cash.

8                                        PROBABLE CAUSE

9           Complainant, Matthew Schwartz, states the following as and for probable cause.

10          3.      I am currently assigned to the FBI Las Vegas, Nevada, Field Office,

11   Transnational Organized Crime, Squad 3. As part of my FBI duties, I investigate criminal

12   violations of Interstate Theft. Through the FBI, I have received specialized training in the

13   enforcement of federal theft laws. My training and experience has involved, among other

14   things: (a) the debriefing of defendants, witnesses, informants, as well as others who have

15   knowledge of the laundering and concealment of proceeds from the sale of stolen items;

16   (b) surveillance; (c) analysis of documentary and physical evidence; (d) the hand-to-hand

17   sale of purported stolen items; and (e) the execution of search warrants.

18          4.      I have also received training in investigations involving the interception of

19   wire communications at the FBI Academy at Quantico, Virginia. During my tenure with

20   the FBI, I have either investigated or assisted in the investigation of money laundering cases

21   ranging in scope from street-level distributors to multi-state and international complex

22   conspiracy cases.

23          5.      Based on my training and experience as an FBI agent, I am familiar with the

24   manner in which money launderers conduct their theft related businesses, including: the


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1    methods employed by businesses to attempt to mask their financial activity, their use of

2    digital and social media in furtherance of their illegal activities and their use of coded

3    language to refer to stolen items, counter-surveillance, other aspects of money laundering,

4    conspiracy, and other crimes.

5           6.      I have been involved in the investigation, which is the subject of this

6    Affidavit. Due to my personal participation in this investigation and reports made to me and

7    the investigative team by other FBI Agents, and other Law Enforcement Officers, I am

8    familiar with all of the facts and circumstances stated herein. My training and experience as

9    a Special Agent, including participation in this investigation, form the basis for opinions and

10   conclusions set forth below.

11          7.      This summary is provided for purposes of demonstrating that there is

12   probable cause to believe that the defendants have committed the crimes described above.

13          8.      Company A is a Nevada business that advertises that it repairs catalytic

14   converters. The investigation to date, including evidence gathered through confidential

15   human sources, surveillance, and financial records, has established probable cause that

16   Company B representatives, including INDIVIDUAL 1, purchase stolen catalytic

17   converters from criminals who have cut them from vehicles

18          9.      Company B is a Nevada business that advertises that it purchases and recycles

19   catalytic converters. The investigation to date, including evidence gathered through

20   confidential human sources, surveillance, and financial records, has established probable

21   cause that Company A representatives, including SALES, purchase stolen catalytic

22   converters from criminals who have cut them from vehicles.

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1           10.     Through controlled sales described below, SALES and INDIVIDUAL 1 have

2    purchased (on behalf of Company A and B) catalytic converters that the sellers represented

3    were stolen.

4           11.     The first controlled sale of catalytic converters took place on August 15,

5    2022, where two FBI Confidential Human Sources, CHS-11 and CHS-2 2 met with

6    INDIVIDUAL 1 and a male later identified as SALES at Company A’s business address in

7    Las Vegas, Nevada. CHS-1 and CHS-2 met with INDIVIDUAL 1 and SALES, as well as

8    one other employee associated with Company B. During the meeting, the CHSs sold 11

9    catalytic converters to SALES for $2,200. SALES paid INDIVIDUAL 1 with a check for

10   the catalytic converters. INDIVIDUAL 1 then drove the CHSs to a Bank of America

11   branch nearby and paid the CHSs using cash. The meeting was audio and video recorded.

12          12.     I reviewed the audio and visual recording of the meeting between the CHS-1,

13   CHS-2, INDIVIDUAL 1 and SALES. The following is a summary of what was said and is

14   not verbatim. Most of the meeting took place in Spanish, the following contains a

15   translation of the meeting. During the meeting, the CHSs discussed the catalytic converters

16   that the CHSs had brought with them. INDIVIDUAL 1 warns the CHSs “to be very

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     1
      CHS-1 has worked with the FBI since March 2019 and is known to be credible and
18   reliable. CHS-1 is a convicted felon with a history of violence, theft, drug use, possession of
     a weapon, fraud, traffic violations, and failure to appear. CHS-1’s criminal activity preceded
19   his/her work with the FBI. CHS-1 is working for monetary compensation.
20   2
      CHS-2 has worked with the FBI since December 2014 for monetary gain. Since that date,
     CHS has worked with the FBI on numerous investigations for drug trafficking and is known
21   to be credible and reliable. CHS-2 is receiving immigration related benefits against
     deportation due to continued cooperation with law enforcement. CHS-2 is a convicted felon
22   with a history which includes charges for False Claim of US Citizenship; Illegal Entry (Into
     United States); Re-entry After Deportation; Probation Violation; Burglary 3rd Degree;
23   Theft, Marijuana – Possess for Sale; Conspiracy; Money Laundering 2nd Degree; Illegal
     Control of Enterprise; Possess/Use Weapon Drug Offense; Drug Paraphernalia Violation;
24   Marijuana Violation and various traffic offenses.

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1    careful with those, as he could get 25 years in jail.” INDIVIDUAL 1 reviews the codes that

2    are on the catalytic converts and sends them to his point of contact who he says is from

3    Texas. CHS-1 states, “he and his homies only want to get them during the night which is

4    less suspicious.” CHS-1 informs INDIVIDUAL 1 that he wants to be paid in cash.

5    INDIVIDUAL 1 suggests to the CHSs they should drive carefully, and hide those items in

6    the small back cabin or underneath the seats. INDIVIDUAL 1 states “that there is an

7    ongoing investigation throughout the country and police may stop them.” Based on my

8    training and experience, the use of the term “get them during the night which is less

9    suspicious” under these circumstances would convey that the catalytic converters were

10   obtained through theft.

11          13.    The second controlled sale of catalytic converters took place on August 17,

12   2022, where CHS-1 and CHS-2 met with INDIVIDUAL 1 and SALES at Company A’s

13   business address in Las Vegas, Nevada. During the meeting, the CHSs sold 23 catalytic

14   converters to SALES for $12,600. SALES paid INDIVIDUAL 1 with a check for the

15   catalytic converters. INDIVIDUAL 1 paid the CHSs $3,000 in cash and told the CHSs that

16   he was going to keep approximately $4,200 as part of his portion for brokering the deal

17   between the CHSs and a person/company that would buy their reported stolen catalytic

18   converters.

19          14.    I reviewed the audio and visual recording of the meeting between the CHS-1,

20   CHS-2, INDIVIDUAL 1 and SALES. The following is a summary of what was said and is

21   not verbatim. Most of the meeting took place in Spanish, the following contains a

22   translation of the meeting. During the meeting, INDIVIDUAL 1 thanks the CHSs for their

23   work and sacrifice, and states, “he does not see anything bad doing it like dealing drugs or

24   other crime.” The catalytic converters were purportedly stolen during the meeting that took


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1    place on August 15th, where the CHS informed INDIVIDUAL 1 that the CHS “get them

2    during the night which is less suspicious.” INDIVIDUAL 1’s suggestion to the CHS to be

3    cautious when driving around with the catalytic converters solidify INDIVIDUAL 1’s

4    knowledge of how the CHSs reportedly obtained the catalytic converters through theft.

5           15.    The third controlled sale of catalytic converters took place on September 27,

6    2022, between CHS-1 and SALES at Company B’s business address in North Las Vegas,

7    Nevada. During the meeting CHS-1 sold 14 catalytic converters to SALES. During the

8    meeting SALES informed CHS-1 that he would need the business license for the CHS’s

9    business and a new vendor form before he could pay the CHS-1. CHS-1 and SALES

10   discussed how the CHS’s “homies” had just gotten the catalytic converters from California.

11   The CHS inquired if Company B’s location in California cared if the catalytic converters

12   are stolen. I believe that SALES shakes his head no because the CHS verbally responds

13   "no" as confirmation. SALES states that as far as caring he probably cares the least. SALES

14   states that “he don’t know nothing,” and that California may not want them if they know

15   they are stolen. SALES states that he won’t ever say no, and that he does not care.

16          16.    I reviewed the audio and visual recording of the meeting between the CHS-1

17   and SALES. The following is a summary of what was said and is not verbatim:

18          CHS-1: These are from California. My homies got them over there….Can you send

19   me with someone from Cali over there?

20          SALES: You would have to bring it to them…it’s appointment only….

21          CHS-1: Do they care? Do they care if they are fucking stolen?...No.

22          SALES: As far as caring, I probably care the least.

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1           SALES: I don’t know nothing. Other people don’t do it like that…so I wouldn’t sell

2    to them if you had the choice. Because they may be like oh I don’t want them, if they think

3    they are stolen. I am never not going to want them…I personally don’t care.

4           17.    On October 6, 2022, the CHS had a phone call with SALES where SALES

5    informed the CHS that the CHS would need a business license that had something with

6    automotive in the name. On November 9, 2022, CHS-1 returned to Company B to meet

7    with SALES and provided the business license for an FBI created company with

8    automotive in the name (“the FBI company”), as well as the new vendor form that had

9    been given to CHS-1 on September 27, 2022. CHS-1 received a check made payable to the

10   FBI company for $5,558. The meeting was audio and video recorded.

11          18.    The fourth controlled sale of catalytic converters took place on November

12   17, 2022, between CHS-1 and SALES at Company B’s business address in North Las

13   Vegas, Nevada. During the meeting the CHS sold 32 catalytic converters to SALES. The

14   CHS received a check made payable to the FBI company for $6,280. The meeting was

15   audio and video recorded.

16          19.    The following is a summary of what was said and is not verbatim. During

17   the meetings the CHS informs SALES that he/she went to Los Angeles the day before and

18   that the CHS’s cousin had a lot of catalytic converters and was having a problem getting rid

19   of them. The CHS inquired if there was a way to get the catalytic converters out to

20   Company B in Las Vegas or if there was a place in California the CHS’s cousin could go.

21   SALES tells the CHS about a Company B location in Irvine, California that should be able

22   to help the CHS’s cousin out as long as the CHS’s family member had a business set up.

23          20.    The fifth controlled sale of catalytic converters took place on January 12,

24   2023, between CHS-1 and SALES at Company B’s business address in North Las Vegas,


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 I   Nevada. During the meeting the CHS sold 21 catalytic converters to SALES. The CHS

 2   received a check made payable to the FBI company for $3,923. The meeting was audio and

 3   video recorded.

4           21.      The following is a summary ofwhat was said and is not verbatim. During

 5   the meeting, CHS-I inquires about wanting to expand their business to other locations, and

 6   ifSALES could help CHS-I out with this. SALES informs CHS-1 that ifthe catalytic

7    converters appear to be stolen, that the other companies will probably not buy them, and if

 8   the company does not purchase them because they are stolen, the company will not deal

 9   with that company for forever. SALES goes on to state that that is all he can say.

IO          22.      On March 23, 2023, CHS-2 placed a call to INDIVIDUAL I. The call was

11   audio recorded and took place in Spanish, the following contains a translation ofthe

12   meeting. CHS-2 asked INDIVIDUAL I ifhe was still interested in catalytic converters.

13   INDMDUAL I said yes, and that every time he gets one, he sells it. He could sell them

14   the next day.

15          23.      Based on the above, I believe there is probable cause that JOSEPH LYNN

16   SALES, did violate 18 U.S.C. § 371 (Conspiracy to Commit Interstate Transportation of

17   Stolen Property).

18

19                                                     Ma ew Schwartz, Special Agent
                                                       Federal Bureau oflnvestigation
20
     Attested to by the applicant in accordance with the requirements
21   ofFed. R. Crim. P. 4.1 by telephone on March __  30 , 2023

22

23
     HONORABLE ELAYNA J. YOUCHAH
24   UNITED STATES MAGISTRATE JUDGE

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